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 8
 9                                  UNITED STATES DISTRICT COURT

10                                          DISTRICT OF NEVADA

11   JOSEPH L. MIZZONI,
                                                                    Case No. 3:15-cv-00499-MMD-WGC
12                         Plaintiff,
                                                              OPPOSITION TO MOTION SEEKING
13   vs.                                                      PERMISSION TO OBTAIN BY COURT
                                                              ORDER VIDEOTAPE EVIDENCE FOR
14   STATE OF NEVADA, et al.,                                 THE NIGHT OF 3-28-15 IN/OUT UNITS
                                                               5, 4, 8, 7 AT NNCC PRISON UNDER
15                         Defendants.                          LOCAL RULE 26-7(B) FOR § 1983,
                                                                  BETEEN 8P AND 930 PM (SIC)
16                                                                          (ECF NO. 50)

17          Defendants Ira Brannon and Christopher Smith, by and through counsel, Adam Paul Laxalt,

18   Attorney General of the State of Nevada, and Erin L. Albright, Deputy Attorney General, hereby

19   oppose Plaintiff’s Motion Seeking Permission to Obtain by Court Order Videotape Evidence for the

20   Night of 3-28-15 in/out Units 5, 4, 8, 7 at NNCC Prison Under Local Rule 26-7(b) for § 1983, Beteen

21   8p and 930 PM (sic) (ECF No. 50). This opposition is based on the following Memorandum of Points

22   and Authorities and all papers and pleadings on file herein.

23                          MEMORANDUM OF POINTS AND AUTHORITIES

24          Plaintiff, Joseph L. Mizzoni (“Inmate Mizzoni”), seeks to obtain video tape footage taken on

25   March 28, 2015 of housing units 4, 5, 7 and 8 at Northern Nevada Correctional Center between 8:00 p.m.

26   and 9:30 p.m. During discovery, Inmate Mizzoni asked Defendant Brannon in an interrogatory whether

27   the video cameras were working inside and outside housing units 4, 5, 7 and 8. (Exh. A). He also asked

28   whether inmates were allowed to review such evidence. (Id.) Defendant Brannon responded that to the


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 1   best of his knowledge on March 28, 2015 the institutional camera system was working in housing unit 5,
 2   outside housing unit 4, outside housing unit 7 and outside housing unit 8. (Id.) He also responded that the
 3   policy of the institution does not allow inmates to review any video taken from the institutional camera
 4   system due to safety and security concerns. (Id.) Thus, Inmate Mizzoni’s “Motion Seeking Permission to
 5   Obtain by Court Order Video Tape Evidence for the Night of 3-28-15 in/out Units 5, 4, 8, 7 at NNCC
 6   Prison Under Local Rule 26-7(b), for § 1983, Beteen 8 PM and 930 PM” (ECF No. 50) is really a motion
 7   to compel discovery.
 8          A motion to compel discovery brought pursuant to FED. R. CIV. P. 37(a) cannot be brought until
 9   a party fails to make a disclosure required by FED. R. CIV. P. 26(a). FED. R. CIV. P. 37(a)(3)(A). The
10   disclosures required by FED. R. CIV. P. 26(a) are required to be made at or within fourteen (14) days of
11   the FED. R. CIV. P. 26(f) meet and confer conference. FED. R. CIV. P. 26(a)(1)(C). A party may not
12   seek discovery from any source before the parties have met and conferred as required by FED. R. CIV. P.
13   26(f). To confer requires “personally engage in two-way communication with the nonresponding party
14   to meaningfully discuss each contested discovery dispute in a genuine effort to avoid judicial
15   intervention.” Shuffle Master, Inc. v. Progressive Games, Inc., 170 F.R.D. 166, 171 (D. Nev., 1996).
16   Rules requiring meet-and-confer efforts apply to pro se litigants. Rogers v. Giurbino, 288 F.R.D. 469,
17   477 (S.D. Cal. 2012), citing Madsen v. Risenhoover, 2012 WL 2873836, at *3, 2012 U.S. Dist. LEXIS
18   90810, at *8–9 (N.D. Cal. June 28, 2012) (finding that the meet-and-confer requirement applies to
19   incarcerated individuals, but noting that the incarcerated plaintiff may send a letter to defendants).
20          Further, any motion seeking to compel discovery “must include a certification that the movant
21   has in good faith conferred or attempted to confer with the person or party failing to make disclosure or
22   discovery in an effort to obtain it without court action.” FED. R. CIV. P. 37(a)(1). The Local Rules have
23   a similar requirement, providing that “[d]iscovery motions will not be considered unless a statement of
24   the movant is attached thereto certifying that, after personal consultation and sincere effort to do so, the
25   parties have been unable to resolve the matter without Court action.” LR 26-7(b).
26          Here, Inmate Mizzoni made no effort prior to filing his motion to compel, to meet and confer
27   with counsel for Defendants regarding the discovery he now seeks to compel. Since the parties have
28   not met and conferred pursuant to FED. R. CIV. P. 26(f), Defendants have not failed to make a disclosure


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 1   pursuant to FED. R. CIV. P. 26(f). As the Defendants have not failed to make a disclosure pursuant to
 2   FED. R. CIV. P. 26(f), Plaintiff’s motion to compel is premature and should be denied.
 3           Furthermore, both the federal and the local rule require the movant to include a certification that
 4   he has in good faith conferred or attempted to confer with the Defendants in an attempt to resolve the
 5   matter prior to filing a motion to compel. See FED. R. CIV. P. 37(a)(1), LR 26-7(b). A review of
 6   Plaintiff’s motion, demonstrates that he did not include a certification that he has in good faith
 7   conferred or attempted to confer with the Defendants in an attempt to obtain the information requested.
 8   Thus, Plaintiff’s motion to compel should be denied.
 9   I.      CONCLUSION
10           Based on the foregoing, Defendants respectfully request this Court deny Plaintiff’s Motion to
11   Compel Discovery.
12           Dated this 30th day of May, 2017.
13                                                 ADAM PAUL LAXALT
                                                   Attorney General
14
15                                                 By:
                                                             ERIN L. ALBRIGHT
16                                                           Deputy Attorney General
                                                             Bureau of Litigation
17                                                           Public Safety Division
18                                                           Attorneys for Defendants
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 1                                     CERTIFICATE OF SERVICE
 2          I certify that I am an employee of the Office of the Attorney General, State of Nevada, and that
 3   on this 30th day of May, 2017, I caused to be deposited for mailing a true and correct copy of the
 4   foregoing, OPPOSITION TO MOTION SEEKING PERMISSION TO OBTAIN BY COURT
 5   ORDER VIDEOTAPE EVIDENCE FOR THE NIGHT OF 3-28-15 IN/OUT UNITS 5,4,8,7 AT
 6   NNCC PRISON UNDER LOCAL RULE 26-7(B) FOR § 1983, BETEEN 8P 930 PM (SIC), to the
 7   following:
 8   Joseph L. Mizzoni #68549
     High Desert State Prison
 9
     P.O. Box 650
10   Indian Springs, NV 89070

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                                                           _____________________________
13                                                         An employee of the
                                                           Office of the Attorney General
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